                          [Oral argument not yet scheduled]

                    In the United States Court of Appeals
                     for the District of Columbia Circuit

UNITED STATES STEEL CORPORATION et al.,               )
                                                      )
                           Petitioners,               )
                                                      )
      v.                                              )     No. 25-1004
                                                      )
THE COMMITTEE ON FOREIGN INVESTMENT                   )
IN THE UNITED STATES et al.,                          )
                                                      )
                           Respondents                )

          REPRESENTATION OF CONSENT TO FILE
          BRIEF OF AMICI CURIAE ON BEHALF OF
LOCAL GOVERNMENTAL OFFICIALS AND LOCAL UNION OFFICIALS
      Pursuant to D.C. Circuit Rule 29(b), the undersigned represents that he has
obtained the consent of Petitioners and Respondents, via electronic mail
communications on February 3 and 4, 2025, to file a brief amici curiae on behalf of
certain local governmental officials and local union officials in the Monongahela
Valley and Gary, Indiana. While the list of participants remains subject to change, the
following have expressed interest in participating: the mayors of the Cities of Gary,

Indiana and Clairton and Duquesne, Pennsylvania; the mayors of the Boroughs of
Elizabeth, Homestead, Pleasant Hills, Jefferson Hills, Braddock, Braddock Hills, East
Pittsburgh, Glassport, Munhall, Whitaker, North Braddock, Turtle Creek, West
Mifflin, Dravosburg and Wilmerding, Pennsylvania; the chairs of the commissions of
Elizabeth and Forward Townships, Pennsylvania; and two individual members of
United Steelworkers Local 2227.
                                          Respectfully submitted,

February 4, 2025                          /s/ Paul K. Stockman________________
                                          Paul K. Stockman
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                                          Attorneys for Amici Curiae


                         CERTIFICATE AS TO PARTIES
       Pursuant to Circuit Rule 28(a)(1), the undersigned certifies that all parties

appearing in this Court are listed in the Brief for Petitioners except for the Amici
participating in this brief; a complete list of those persons (presently subject to
change) will be included with amici’s brief.

February 4, 2025                          /s/ Paul K. Stockman
                                          Paul K. Stockman


                           DISCLOSURE STATEMENT
       Because Amici are all individuals, appearing in their individual capacities,
Federal Rule of Appellate Procedure 26.1 and Circuit Rule 26.1 are inapplicable..

February 4, 2025                          /s/ Paul K. Stockman
                                          Paul K. Stockman




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